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                       Honorable Judge Sabraw
                       333 West Broadway
                       San Diego, CA 92101
                       Courtroom 13A


                       Dear Judge Sabraw:

                       At the April 17 status conference, the Court asked whether it would make
                       sense at this point to appoint either “a committee or a specific person” to
                       address information-sharing issues among the various agencies and
                       departments that have been identified in this case and by the GAO and HHS
                       OIG reports issued in March. See ECF Nos. 529 (GAO Report) and 524
National Office        (HHS OIG Report).
125 Broad Street,
18th Floor
New York, NY 10004     Plaintiffs believe that it would make sense to do so and it would expedite
Tel: (212) 549-2644    resolution of these issues. As noted at the April 17 status conference, there
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                       are two types of information-sharing issues. The first is the sharing of
Susan Herman           information between the government and Plaintiffs and child advocates. On
President              that topic, the parties have narrowed their disputes and continue to make
                       progress. The second issue concerns how the relevant agencies share
Anthony Romero
Executive Director
                       information among themselves. On this issue, it is difficult for Plaintiffs to
                       have direct knowledge of how the agencies are sharing information among
                       themselves. Consequently, it would be extremely helpful to have someone
                       designated to oversee this issue, to ensure that Plaintiffs and the Court are
                       provided with the relevant information and have the appropriate input into
                       the processes that are developed.

                       As the Court knows, the concerns raised by the GAO and HHS IG reports
                       include:

                        -Continued difficulties for ORR in obtaining specific information from
                        DHS, including details of parents’ purported criminal records, HHS OIG
                        Report at 3; GAO Report at 58-65;

                        -The lack of a current agreement requiring the Department of Justice to
                        coordinate with ORR—or provide information—about parents’ locations,
                        “which has led to ongoing difficulties locating parents in U.S. Marshals’
                        custody,” HHS OIG Report at 41;

                        -ORR information-sharing needs not covered by any existing agreements
                        with DHS, which include information needed to release children to
                        sponsors or to reunify families, GAO Report at 63-64.


                       Dated: May 22, 2020                             Respectfully submitted,
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